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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY

Tina Hammen                                              Case No.
3 King Ave.
Marlton, NJ 08053                                         Judge:

         Plaintiff,
                                                           COMPLAINT FOR DAMAGES
v.                                                           UNDER THE FAIR DEBT
                                                         COLLECTION PRACTICES ACT AND
GC Services, LP                                             OTHER EQUITABLE RELIEF
150 N Martingale Road, Suite 838
Schaumburg, IL 60173
                                                         JURY DEMAND ENDORSED HEREIN
         Defendant.


                                   JURISDICTION AND VENUE

1. Jurisdiction is founded on 28 U.S.C. §1331 pursuant to the Fair Debt Collection Practices

     Act (FDCPA), 15 U.S.C. §1692. Venue is proper because a substantial part of the events

     giving rise to this claim occurred in this judicial district.

                                 FACTS COMMON TO ALL COUNTS

2. The Plaintiff is a person who incurred a consumer debt primarily for personal, family or

     household purposes.

3. Defendant is a corporation doing business primarily as a consumer debt collector.

4. Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C. §1692a(6).

5. The Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3).

6. The debt in question qualifies as a “debt” as defined by 15 U.S.C. §1692a(5).

7. Defendant is either the holder of the debt or was retained by the current holder to collect the

     debt.

8. Plaintiff filed this claim within the timeframe permitted under the FDCPA.




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9. On or around July 1, 2008, Defendant telephoned Plaintiff at Plaintiff’s place of employment.

10. During this communication, Plaintiff notified Defendant that Plaintiff could not received

   Defendant’s telephone calls at her place of employment and/or that it was inconvenient for

   Plaintiff to receive Defendant’s telephone calls at her place of employment.

11. During this communication, Defendant represented to Plaintiff that, if Plaintiff did not pay

   the full amount of the debt that day, Defendant would take legal action against Plaintiff.

12. During this communication, Defendant represented to Plaintiff that, if Plaintiff did not pay

   the debt, Plaintiff could spend up to 3 months in jail.

13. Despite Plaintiff’s notice, Defendant telephoned Plaintiff’s place of employment at least two

   more times in July 2008.

14. At the time of the communications referenced above, Defendant did not have the ability to

   take legal action against Plaintiff, nor did Defendant intend to take legal action against

   Plaintiff.

15. Defendant damaged Plaintiff emotionally and mentally and caused Plaintiff substantial

   anxiety and stress.

16. Defendant violated the FDCPA.

                                           COUNT ONE

                         Violation of the Fair Debt Collection Practices Act

17. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

18. The Defendant violated 15 U.S.C. §1692c by calling Plaintiff at a time and/or place known to

   be inconvenient for Plaintiff.




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                                           COUNT TWO

                       Violation of the Fair Debt Collection Practices Act

19. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

20. The Defendant violated 15 U.S.C. §1692f in that its actions were unfair and/or

    unconscionable means to collect a debt.

                                          COUNT THREE

                       Violation of the Fair Debt Collection Practices Act

21. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

22. The Defendant violated 15 U.S.C. §1692e in that it threatened legal action where such action

    was not contemplated, and stated for the sole purpose of terrifying the Plaintiff.

                                           COUNT FOUR

                       Violation of the Fair Debt Collection Practices Act

23. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

24. The Defendant violated 15 U.S.C. §1692e by making misrepresentations during its

    conversations with Plaintiff.

                                          JURY DEMAND

25. Plaintiff demands a trial by jury.

                                      PRAYER FOR RELIEF

26. Plaintiff prays for the following relief:

            a. Judgment against Defendant for actual damages, statutory damages pursuant to 15

                U.S.C. §1692k and costs, and reasonable attorney’s fees pursuant to 15 U.S.C.

                §1692k.




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       b. For such other legal and/or equitable relief as the Court deems appropriate.

                                        RESPECTFULLY SUBMITTED,

                                        Macey & Aleman, P.C.

                                        By: /s/ Alana M. Carrion
                                        Alana M. Carrion
                                        17 Academy Street, Suite 615
                                        Newark, NJ 07102
                                        Tel: 1.866.339.1156
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                                        Attorney for Plaintiff




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